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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

VICTORIA CHARITY WHITE
3558 7th Street NW
Rochester, Minnesota 55901

                                    Plaintiff,
                v.

JASON BAGSHAW,                                                              C.A. No. 24-cv-00018-CJN
Commander, Special Operations Division,
in his individual and official capacity as a
Metropolitan Police Officer
2850 New York Avenue, NE
Washington, DC 20002
                                                                             TRIAL BY JURY
and                                                                           REQUESTED

NEIL MCALLISTER, in his individual and
official capacity as a Metropolitan Police Officer
First District Station
    101 M Street, SW
    Washington, DC 20024
    Phone: (202) 698-0555

                             Defendants.




          FIRST AMENDED COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                    USE OF EXCESSIVE AND DEADLY FORCE

I.       INTRODUCTION


      1. This lawsuit, brought under the Civil Rights Act 42 U.S.C. 1983, seeks money damages

      for the violations of the rights of Plaintiff Victoria Charity White under the Fourth and

      Fourteenth Amendments to the Constitution for unreasonable seizure/excessive force and


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      violations of Due Process which shock the conscience when she was severely beaten about

      the face, head, neck, and shoulders with a metal baton approximately 35 times and punched

      in the face five times by Defendants Jason Bagshaw and Neil McAllister at the Lower West

      Terrace tunnel entrance to the U.S. Capitol on January 6, 2021, at approximately 4:00 p.m.

      ET, aided and abetted by other Metropolitan Police Department (MPD) officers under

      Defendant Bagshaw’s supervision and control, all of which is captured and recorded on

      video.

II.          JURISDICTION AND VENUE

               2. This action arises under the authority vested in this Court by virtue of 42 U.S.C.

      §1983, with jurisdiction over this action pursuant to 28 U.S.C. § 1331 (Federal Question); 28

      U.S.C. §1343 (a)(3) (Civil Rights Action), as well as the Fourth and Fourteenth

      Amendments. This Court also has jurisdiction over the Plaintiffs’ action pursuant to 28

      U.S.C. §1332 because there is complete diversity of citizenship between the parties and the

      amount in controversy exceeds $75,000.00, exclusive of interest and costs.

               3. Venue is proper pursuant to 28 U.S.C. § 1391(b)(1), (2) since Defendants reside in

      this district and the events or omissions giving rise to the claims occurred in this judicial

      district.

      III.        PARTIES

                                                 Plaintiff

               4. VICTORIA CHARITY WHITE (“White”) is an individual, natural person, who at

      all material times was and is a citizen of the State of Minnesota.

                                                 Defendants

               5. Defendant JASON BAGSHAW (“Bagshaw”) is currently the Commander of the
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   Metropolitan Police Department’s Special Operations Division. At all the relevant times

   complained of in this Complaint, Bagshaw was a Lieutenant with the MPD who, as captured

   and recorded on video, repeatedly struck an unarmed and defenseless White about her head,

   face, shoulders, and upper body with a metal baton and his fists on January 6, 2021, as well

   as was the supervisor and superior of the team of police officers of the MPD, some of whom

   also physically assaulted White. Bagshaw committed these acts while performing his official

   duties and acting under color of law. He is sued in both his personal and official capacity.

           6. Defendant NEIL MCALLISTER (“McAllister”), as captured and recorded on

   video, is a police officer of the Metropolitan Police Department of the District of Columbia

   with the First District who, along with Defendant Bagshaw and other police officers,

   physically assaulted the Plaintiff on January 6, 2021. McAllister committed these acts while

   performing his official duties and acting under color of law. He is sued in both his personal

   and official capacity.

                                    Diversity of Citizenship

7. The Plaintiff Victoria White is a citizen and resident of Minnesota.

8. The Defendants are residents of the District of Columbia or neighboring States of Virginia or

   Maryland, and commute to work within the Metropolitan Police Department of the District of

   Columbia.

9. There is complete diversity of citizenship between the Plaintiff and all Defendants.

   IV.     FACTS

10. Ms. White, age 42, is a single mother who lives in Rochester, Minnesota with her four

   biracial daughters, whose current ages are 16, 17, 18, and 21. She is survivor of serious

   domestic violence and abuse which she had to relive with the beating she received from the
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   Defendants.

11. On January 6, 2021, Ms. White attended the rally on the Ellipse where President Donald

   Trump spoke and exercised her right under the First Amendment to peacefully assemble and

   protest. She did not bring or carry any weapons.

12. White subsequently left the Ellipse and peacefully marched to the Capitol Grounds with

   other rally goers.

13. The U.S. Capitol Police had issued six (6) permits for six (6) different demonstrations on the

   grounds of the U.S. Capitol that were to be held on January 6, 2021 throughout the day.

14. At the time Ms. White arrived at the Capitol Grounds, she did not see any signs restricting

   the public from this otherwise public area.

15. The following facts occurred at the times noted on video recordings linked below that were

   under seal until the Government was forced to release it by order of this Court and are now in

   the public domain.

16. Plaintiff is seen on video on the side entrance steps to the Capitol wearing a red MAGA hat,

   a red top, and a flag/banner wrapped around her shoulders confronting and yelling at the

   protestors not to break any windows or enter the Capitol or cause a disruption. This four

   minute and eight second video can be seen among other places at:

   https://rumble.com/vs0kc3-victoria-white-attempts-to-stop-protesters-from-

   breaking-window.html. Ms. White is seen pulling a male protestor down from a window

   which he was attempting to smash, and at the 1:28 minute mark, telling him to “Get the f***

   out of here!” See screenshot:




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17. Shortly thereafter, White is pushed by the crowd into the nearby Lower West Terrace Tunnel

   entrance to the Capitol building, where a phalanx of some 40 officers in riot gear stood

   shoulder-to-shoulder against the tunnel walls, approximately five officers abreast and seven

   rows deep. The following unlawful excessive force by the Defendants took place then and

   there as shown on this five-minute video: https://rumble.com/vr9uhp-brutal-victoria-white-

   pummeled-by-police-officers-on-jan.-6.html

18. Plaintiff incorporates this video and all other videos in this Complaint by reference as a

   factual exhibit as if fully set forth herein, and relies upon the substance and details of the

   Defendants’ conduct in those videos as among her factual allegations upon which she brings

   this Complaint.

19. This second video records the brutal physical attack on the Plaintiff by Bagshaw, McAllister,

   and some other unidentified MPD officers for which Bagshaw, as their supervisor and

   superior, who participated in and condoned such conduct, share responsibility and liability.
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20. Lieutenant Bagshaw, on the right side of the tunnel, is wearing a white shirt unlike the other

   officers dressed in black riot gear. These events occurred around 4:00 p.m. ET on January 6.

   2021, long after the Capitol was first breached around 1:30 pm and well after it was put into

   lockdown at 2:20 pm when Members were taken to safe quarters.

            :05    Bagshaw reaches over his fellow officers and violently strikes Ms.
                   White in the head with his baton five times in seven seconds. The
                   first blow knocks her MAGA hat off her head.

            :13    Bagshaw hits Ms. White over the head two times and then spears
                   her with the baton two times.

            :14    Ms. White is sprayed directly in the face with mace by an officer
                   standing on ledge. Ms. White pleads with him to stop.

            :25    Ms. White is maced and hit by Bagshaw and ledge officer.

            :38    Ms. White is visibly bleeding from her head, which can be seen
                   from her blood having been transferred on the white hoody of the
                   protestor pushed up next to her.

            :45    Ms. White is stuck in the crush surrounding officers and cannot go
                   anywhere.

            :49    Ms. White is struck seven more times by Bagshaw and another
                   MPDC Officer pulls White’s hair back and forth.

            1:11   Bagshaw moves his way from behind his fellow officers towards
                   Ms. White to get a better striking distance and begins another
                   assault. He spears and pokes White with his baton about the head,
                   neck, and face to inflict maximum pain. Ledge Officer sprays mace
                   on Ms. White.

            2:05   Bagshaw beats Ms. White with his baton striking directly over the
                   head another two times and then punches White with his fist.

            2:09   Another MPDC Officer holds White and prevents her from
                   leaving.

            2:34    Bagshaw hits/spears Ms. White eight more times.

            3:02    Bagshaw punches Ms. White in the face, with his left-hand,
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                   landing five punches in five seconds, with all of his might, while
                   she is being held by another officer.

            3:30   Another officer joins in and starts beating Ms. White in the head
                   with his baton, landing twelve strikes directly to her face;
            3:42   Ms. White is visibly in distress.

            4:00   Ms. White collapses twice after being tossed around like a rag doll

            4:52   Bagshaw attacks Ms. White as she tries to flee striking her in the
                   face with his baton three times.

            VIDEO ENDS

21. At no time did Ms. White hit, strike, or spit on any Defendants or other officers or threaten

   to do so. She was completely defenseless. Standing at five feet, six inches and weighing 137

   pounds, she was no match for the much taller and heavier Bagshaw and his officers.

22. Ms. White is then dragged through the back of the tunnel where she is placed in plastic zip

   tie handcuffs and led away through the Capitol Building and eventually taken to HQOB

   South Door Prisoner Process.

23. A female officer there exclaimed that Ms. White was bleeding from her head.

24. She was then placed in metal handcuffs.

25. Ms. White was told there was no doctor or medic available to tend to her injuries and was

   allowed to leave after signing some paperwork. She was not formally arrested then nor was

   she told that she did anything wrong.

26. She left the station shoeless into the dark and cold winter evening at approximately 6:00 pm,

   about two hours after she was first attacked in the tunnel, without her jacket, cellphone, or

   wallet. Borrowing a cellphone, she was able to contact a friend and eventually made her way

   back to her home in Minnesota.



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27. The five-minute video above did not contain any audio nor did it show close-up shots of Ms.

   White being mercilessly beaten and pummeled by the Defendants and other officers.

28. However, the following professional documentary in which Ms. White is interviewed about

   her encounter at the Capitol and her personal history, graphically demonstrates both the

   unlawful conduct of the Defendants in greater detail in both audio and video using bodycam

   footage belonging to the Defendants and other officers, and the physical and emotional pain

   they inflicted on her: Lara Logan | “The Rest of the Story” | What Are They Still Hiding

   About January 6th? | Victoria Charity White (2024) (“Logan Video”).

   https://rumble.com/v45xepi-lara-logan-the-rest-of-the-story-still-hiding-about-january-6th-

   victoria-ch.html

29. As shown in the video and alleged herein, the Defendants present on the scene physically and

   unlawfully beat Ms. White using excessive and deadly force and knew that she could not

   retreat from their repeated assault and battery upon her because of the crush of the crowd

   behind her outside of the arched tunnel entrance.




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30. The Logan Video shows Defendant McAllister slamming Ms. White up against the concrete

   tunnel wall, whereupon, inexplicably, his bodycam is shut off for some 30 seconds. Logan

   Video at 4:44.

31. During the Defendants’ attack on Ms. White, one male protester near the tunnel entrance

   pleaded with the Defendants, shouting: “No, no, no, no. Please… Please don’t beat her!”

   Logan Video at the 17:18 minute mark. The Defendants ignored his plea and resumed

   beating Ms. White.

32. Plaintiff possessed the clearly established right under the Fourth and Fourteenth

   Amendments and its Due Process requirements to bodily integrity and to be free from

   excessive force by law enforcement.

33. Any reasonable person knew or should have known of these rights at the time of the conduct


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   complained herein insofar as they were clearly established at that time, especially to

   Defendants as sworn law enforcement officers.

34. Indeed, as shown in a graphic in the Logan Video, the MPD has a Use of Force rule, which

   the Defendants clearly violated. MPD GO-RAR-901.07 (Use of Force). Logan Video at

   7:12. The Use of Force Framework reproduced here categorizes resisters and assailants into

   four Categories of Perceived Threat with a corresponding appropriate Force Response:

                         [SEE NEXT PAGE]




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35. While Ms. White did not resist the police at all, at worst, she was no more than a Passive

   Resister. At that low level, the Defendants were only allowed to use Control Holds involving

   low-level physical contact. Instead, Defendants Bagshaw and McAllister used Deadly Force,

   which “include the use of a firearm or a strike to the head with a hard object” which is only

   permitted against an Active Assailant, namely, one who “poses an imminent danger of death


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   or serious bodily injury to (MPD) member or another person.” Ms. White clearly was not an

   Assailant, let alone an Active Assailant.

36. In a memorandum filed in another January 6th case, the U.S. Attorney’s office admitted that

   “it is undisputed that Lieutenant Bagshaw repeatedly struck, or attempted to strike, the

   woman in red [Ms. White] in the head or upper body, see Govt. Ex. 204; that the head is a

   sensitive area, see Def. Exs. 404, 408; and that both MPD and USCP use-of-force policies

   direct officers to avoid striking the head unless necessary see id.” United States v.

   Fitzsimmons, No. 23-cr-158 (D.D.C), United States’ Post-Trial Brief On Defense-Of-Others

   As It Relates To Count 3 at p.13 (August 26, 2022) (ECF No. 98) (emphasis added). The

   U.S Attorney continued: “While many observers might instinctively cringe at the sight of a

   male police officer using a baton to strike, or attempt to strike, the head, neck, and shoulder

   area of a smaller woman, there are many possible lawful justifications for Lieutenant

   Bagshaw’s use of force. . . . It is possible that Lieutenant Bagshaw struck her for no

   justifiable reason. But it is also possible he struck her to disarm her, or to subdue her after

   she attacked an officer.” Id. at 15. (emphasis added).

37. Bagshaw did not strike Ms. White to disarm her since she was not armed, which he well

   knew. Nor did he strike her “to subdue her after she attacked an officer” because she never

   did attack an officer which Bagshaw also well knew. Accordingly, “Lieutenant Bagshaw

   struck her for no justifiable reason.”

38. The Defendants willfully and unlawfully seized Plaintiff by means of objectively

   unreasonable, excessive, and indeed, deadly force that shocks the conscience, thereby

   unreasonably restraining and depriving Plaintiff of her freedom and inflicting physical and

   mental harm and anguish. Accordingly, they are not entitled to qualified immunity for their
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   actions.

39. None of the Defendants engaged in reasonable steps to protect Plaintiff from the objectively

   unreasonable and conscience-shocking excessive force, which they were required to do. They

   are therefore, each and every one of them, liable for the injuries and damages resulting from

   the objectively unreasonable and conscience-shocking force committed by each one

   separately and in concert.

40. The Defendants engaged in the conduct described by this Complaint willfully, maliciously, in

   bad faith, and in reckless disregard of Plaintiff federally protected constitutional rights.

41. Defendant McAllister’s disregard of the Use of Force Framework is reflected on bodycam

   footage where, before the attack on Ms. White occurred, he is heard saying, “I don’t know

   why they [police officers] are not just going Full Monty on these MFers” and “So they’re

   breaking into the Capitol and they’re not shooting them?” Logan Video at 22:31.

42. Defendant Bagshaw also has a reputation for using excessive force. See, e.g., P.K. Collins,

   “Amid Conversation About Crime Prevention, Activists Raise Up Victims of Police

   Violence,” The Washington, Informer (Oct. 10, 2023) (“Bagshaw… has garnered a

   reputation among District activists as an abusive officer….”).

   https://www.washingtoninformer.com/dc-council-introduces-public-safety-bill/

43. A few weeks after Ms. White returned to her home in Minnesota, she was contacted by the

   FBI about her presence at the Capitol. She told the FBI that if they need to arrest her to

   contact her and she would voluntarily turn herself in rather than have her daughters watch

   their mother being hauled off by the FBI in handcuffs.




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44. Several weeks later, in the early morning on April 8, 2021, without any forewarning, FBI

   agents surrounded her block and arrested her in front of her children, hauling her off in

   handcuffs.

45. Ms. White was released on a personal recognizance bond that same day by U.S. Magistrate

   Judge Becky R. Thorson of the U.S. District Court for the District of Minnesota.

46. Five months later, on September 8, 2021, the United States Attorney for the District of

   Columbia filed a four count Indictment charging Ms. White with Civil Disorder and Aiding

   and Abetting, in violation of 18 U.S.C. § 231(a)(3) (Count One); Entering and Remaining in

   a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1) (Count Two);

   Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of 18

   U.S.C. §1752(a)(2) (Count Three); and Disorderly Conduct in a Capitol Building or Grounds

   (Count Four) in violation of 40 U.S.C. § 5104(e)(2)(D).

47. In order to put this unfair criminal prosecution behind her, on August 16, 2023, Ms. White

   pleaded guilty to one felony count of Civil Disorder. The other three charges were dropped.

48. While the federal prosecutors sought a sentence of four months incarceration, Ms. White was

   sentenced on November 22, 2023, to only eight days to be served on four consecutive

   weekends in BOP custody (since completed in January), three months home detention (which

   began on February 8), and two years on probation by U.S. District Judge John D. Bates, No.

   21-cr-00563.

49. Because of the senseless and unlawful beating she received at the hands of the Defendants

   and the other MPD officers that day, Ms. White suffered great physical, traumatic, and

   emotional harm that day and continues to suffer to this day, particularly the traumatic and

   emotional harm.
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50. As Ms. White recounted in her interview with Lara Logan in her documentary, “When the

    first blow came [from Bagshaw], it was like I was right back there with my ex.” Logan Video

    at 8:27. Ms. White describes how she was punched in the face by her ex-boyfriend, kicked,

    dragged by her hair and thrown down stairs, and choked until she passed out.




51. She has tried to recover from these traumatic injuries only to be retraumatized by the

    beatings she suffered at the hands of the Defendants.

                                         FIRST CAUSE OF ACTION
                  (Violation of Fourth and Fourteenth Amendment Rights–42 U.S.C. § 1983)

52. Plaintiff realleges all of the prior allegations in this Complaint and incorporates them here.


53. Plaintiff has a constitutionally protected right under the Fourth Amendment to the United States

    Constitution to be free from unreasonable searches and seizures by government officers.




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54. Defendant Bagshaw’s actions, under color of law, in repeatedly striking Ms. White with a metal

     baton on the head, neck, shoulders and upper body and punching her in the face at least five

     times violated Ms. White’s rights under the Fourth and Fourteenth Amendments.


55. Defendant McAllister, in slamming Ms. White against the concrete tunnel wall and acting in

     concert with Defendant Bagshaw in beating Ms. White, violated her rights under the Fourth and

     Fourteenth Amendments.

                                  SECOND CAUSE OF ACTION
                       (Supervisor Responsibility for Violations of Fourth and
                             Fourteenth Amendments - 42 U.S.C. 1983)


56. Plaintiff realleges all of the prior allegations in this Complaint and incorporates them here.

57. Defendant Bagshaw was at all times during the events complained of a supervisor and superior

     to the 35-40 MPD Officers in the Lower West Terrace tunnel where Ms. White was beaten by

     him, Defendant McAllister, and other MPD officers who can be seen in the videos striking,

     hitting, and macing Ms. White. As the only Lieutenant present, he is easily distinguishable from

     all the other officers by wearing a white shirt instead of all black riot gear and recognizable to the

     other officers. Not only did Bagshaw engage in the unlawful conduct, he facilitated it, approved

     it, and condoned it., See International Action Center v. United States, 365 F.3d 20, 27-28 (D.C.

     Cir. 2004) (“The supervisor must know about the conduct and facilitate it, approve it, condone it,

     or turn a blind eye for fear of what they might see.”).

V.       PRAYER FOR RELIEF

             WHEREFORE, Plaintiff Victoria Charity White prays for relief and judgment against

     each of the Defendants, jointly and severally, as follows: general damages, special damages,

     punitive damages, pre-judgment and post-judgment interest as allowed by law, costs of suit


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   incurred herein, in an aggregate amount of $2,000,000.00, as may be proven at trial, and any

   other further relief the Court deems just and proper, including reasonable attorneys’ fees, for

   the illegal, unconstitutional and intentional and malicious acts of the Defendants, each and

   every one of them, against the Plaintiff.

DEMAND FOR JURY TRIAL

   Plaintiff demands a trial by jury on all counts as to all issues so triable.



Dated: March 27, 2024                                  Respectfully submitted,

                                                       /s/Paul D. Kamenar

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